






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00616-CR








Cedric Cornelius Greene, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 55,273, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant's motion to withdraw appeal is granted.  See Tex. R. App. P. 42.2(a).  The
appeal is dismissed.



				__________________________________________

				Bea Ann Smith, Justice

Before Justices Kidd, B. A. Smith and Pemberton

Dismissed on Appellant's Motion

Filed:   March 4, 2004

Do Not Publish


